           CIVIL CAUSE FOR STATUS CONFERENCE (Tel)

BEFORE: JOAN M. AZRACK, U.S.D.J.
DATE: 5/22/2020             TIME: 12:00 PM                            TIME IN COURT: 20 min.

CASE:          D'Aguino et al v. Garda Cl Atlantic, Inc.                                       FILED
               2:16-cv-00641-JMA-AKT                                                           CLERK

               Adkins et al v. Garda CI Atlantic, Inc.                              5/22/2020 3:53 pm
               1:17-cv-2532-JMA-AKT                                                   U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF NEW YORK
APPEARANCES:           For Plaintiffs: Steven Moser, Ann Ball                         LONG ISLAND OFFICE

                       For Defendant: Lisa Griffith, Daniel Gomez-Sanchez

FTR:

☒       Case called.
☒       Counsel present for all sides.
☐       Briefing schedule set:
                 Moving papers served by:
                 Response:
                 Reply:
                 • Moving party is responsible for filing the fully briefed motion on ECF and
                     providing courtesy copies to Chambers.
☐       Case to be referred to the Magistrate Judge for
☐       Jury selection and trial scheduled for
☐       A further telephone status conference is scheduled for . Counsel for the plaintiff shall
        initiate the call and contact Chambers at 631-712-5600 when all parties are on the line.
☒       Other: The parties are directed to file a joint letter, by 6/5/2020, with a proposed briefing
        schedule for the plaintiffs’ motion to vacate and remand. The letter shall also identify
        what disputes, if any, remain regarding discovery related to the motion.

        The letter motion for settlement, (ECF No. 91), is dismissed as moot.
